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     LUIS MIRAMONTES, MANUEL MONTES,
11   and SAMUEL ALVAREZ HARO

12                              UNITED STATES DISTRICT COURT

13               SOUTHERN DISTRICT OF CALIFORNIA, WESTERN DIVISION

14
15   ERICK GALLO, et al.,                              CASE NO. 08-CV-0604 CAB
16                                  Plaintiffs,
17                                                    DECLARATION OF JOHN F. HYLAND IN
                       vs.                            SUPPORT OF PLAINTIFFS’ MOTION
18                                                    FOR AWARD OF ATTORNEYS' FEES
     MASCO CORPORATION, et al.,                       AND COSTS PURSUANT TO
19                                                    SETTLEMENT AGREEMENT
                                  Defendants.
20
                                                      Date:                   January 31, 2011
21                                                    Time:                   10:00 a.m.
                                                      Courtroom:              Courtroom E
22                                                    Judge:                  Hon. Cathy A. Bencivengo
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                                                                                  Case No. 08-CV-0604 CAB
                                 Hyland Declaration in Support of Motion for
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 1          I, John F. Hyland, declare as follows:
 2          1.      I am an attorney licensed by the State Bar of California, and I am admitted to
 3   practice before this Court. I am a partner in the law firm of Rukin Hyland Doria & Tindall LLP
 4   (“RHDT”), Counsel of record for Plaintiffs in this case (the “Gallo case”) and Plaintiffs in the
 5   related case Ibarra, et al. v. Builder Services Group, Inc., et al., Case No. 10-cv-0199 CAB
 6   (removed to S.D. Cal., Jan. 26, 2010) (the “Ibarra Case”). I have personal knowledge of the facts
 7   set forth in this declaration and, if called to testify under oath, could and would testify
 8   competently thereto.
 9          2.       I have had primary responsibility for the prosecution of these actions on Plaintiffs’
10   behalf since their inception. Two associate attorneys with our Firm – Carole Vigne and Kate
11   Hegé – have also worked on this case under my direction and supervision, along with paralegals
12   Maia Siu and Mark Gaines.
13          3.      Because we anticipated that investigation, preparation, and prosecution of the
14   Gallo case would require a substantial amount of work, and because of the limited-English-
15   proficiency of the Plaintiffs, our Firm associated the Gulledge Law Group (“GLG”) in September
16   2007 to work on this matter. Throughout the duration of this case and the Ibarra case, our Firm
17   and GLG divided responsibilities and duties in as efficient and effective manner as possible, and
18   in a manner intended to avoid or minimize any duplication of work. Our Firm staffed the Gallo
19   and Ibarra cases in as lean a manner as possible; ordinarily with no more than one associate and a
20   paralegal from our Firm working on the case with me at any time.
21          4.      I have practiced law for 15 years and have practiced exclusively in the area of
22   employment law. I have extensive experience in wage and hour law. I have represented
23   individuals in wage and hour disputes in federal and California courts, in arbitration, and before
24   the California Division of Labor Standards Enforcement, and I have also represented employers
25   in defending such matters. I have also litigated numerous wage and hour class and collective
26   actions, having represented class claimants and, in other cases, defendants. Both of the RHDT
27   associates who worked on the cases, Carole Vigne and Kate Hegé, have focused their practice on
28
                                                        1                            Case No. 08-CV-0604 CAB
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 1   employment law matters, including representation of low-wage workers in wage and hour
 2   disputes. Both Ms. Hegé and Ms. Vigne speak fluent Spanish which proved essential because all
 3   but one or two of the Plaintiffs spoke only Spanish, and I do not speak Spanish.
 4          5.        The attorneys and paralegals at our Firm expended a substantial amount of time
 5   preparing and prosecuting the Gallo and Ibarra cases. Our work on these cases included the
 6   following:
 7                •   Investigations/Complaint. Investigated the claims before filing the Gallo
 8                    Complaint; drafted and filed an administrative charge with the California
 9                    Department of Fair Employment and Housing on behalf of Plaintiff Gallo; drafted
10                    and filed the Gallo Complaint; drafted and filed the Gallo First Amended
11                    Complaint; met with and interviewed Gallo putative class members; drafted and
12                    filed the Ibarra Complaint.
13                •   Client Communications. Numerous communications and meetings with the Gallo
14                    and Ibarra Plaintiffs throughout the preparation and prosecution of the cases from
15                    case inception through settlement.
16                •   Written Discovery. Propounded formal discovery requests to Defendants and
17                    responded to Defendants’ substantial amount of written discovery requests in the
18                    Gallo case; reviewed documents and other data produced by Defendants; met and
19                    conferred with Defendants’ Counsel regarding responses to discovery requests;
20                    propounded formal discovery requests to Defendants in the Ibarra case prior to the
21                    case’s removal.
22                •   Depositions. Prepared for and defended the depositions of the Plaintiffs Angel
23                    Miramontes, Gutierrez, Montes, and Alvarez and twenty-one Gallo putative class
24                    members seeking to join the Gallo case as named plaintiffs (and who eventually
25                    became Ibarra Plaintiffs).
26                •   Motions. Researched, drafted, and filed the Motion for Leave to File the Second
27                    Amended Complaint, and Reply thereto, in Gallo, the Motion for Remand, and
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                                                         2                            Case No. 08 CV-604 J CAB
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 1                   Reply thereto, in Ibarra, and the instant Motion for Attorneys’ Fees and Costs,
 2                   among several other joint motions in both cases.
 3               •   Court Conferences/Hearings. Prepared for and attended the Early Neutral
 4                   Evaluation Conference, the Rule 26 Conference, and Pretrial Conference in the
 5                   Gallo case.
 6               •   Trial Preparation. In the Gallo case, prepared and submitted pretrial disclosures,
 7                   amended pretrial disclosures, objections to Defendants’ pretrial disclosures; met
 8                   and conferred with Defendants’ Counsel about the Pretrial Order; prepared and
 9                   submitted the Pretrial Order and the Amended Pretrial Order.
10               •   Settlement. Researched and drafted the settlement conference statements in the
11                   Gallo case; prepared for and attended the settlement conferences in March 2009,
12                   January 2010, and June 2010; conducted settlement negotiations with Defendants’
13                   Counsel throughout the case; negotiated and finalized the detailed terms of the
14                   settlement agreement .
15               •   Travel Time. Traveled from San Francisco to El Centro and San Diego for client
16                   meetings and to San Diego for depositions, court conferences/hearings, and
17                   mandatory settlement conferences.
18          6.       All attorneys and paralegals at our Firm who worked on the Gallo and Ibarra
19   cases maintained contemporaneous records of the time spent working on the case, entering that
20   time in an electronic time recording database. In preparing Plaintiffs' motion for an award of
21   attorneys' fees and costs, I have carefully reviewed these time recording/billing records. During
22   this review, I eliminated a number of billing entries and reduced the recorded time for many other
23   entries to eliminate tasks that in my professional judgment I did not believe we could properly
24   include in calculating the total fees to include in the request or otherwise reduced time to ensure
25   that we included in our request only reasonable amounts of time for the various tasks included in
26   our calculation. In doing so, I sought to eliminate time spent on tasks that I considered
27   duplicative, unnecessary, or excessive. For example, I eliminated all duplicative entries such that
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 1   our Firm did not include time for more than one RHDT attorney to attend a hearing, conference,
 2   or meeting. I n addition, I eliminated time entries such that RHDT did not bill for more than one
 3   attorney participating in a meeting or call among Counsel. Finally, for purposes of this motion,
 4   we eliminated time spent travelling to meetings, hearings, and conferences. The travel time
 5   recorded in our billing records totaled in excess of 200 hours in the Gallo and Ibarra cases.
 6          7.      As detailed in Exhibit A, I have expended a total of 386.8 hours (not including
 7   travel time), the associates in our Firm have expended a total of 626.1 hours (not including travel
 8   time), and our paralegals have expended a total of 61.6 hours (not including travel time), for a
 9   total of more than 1,000 hours on the Gallo and Ibarra cases.
10          8.      We have calculated our Firm's fees based on the following hourly rates, reduced
11   from those we charge our hourly clients and lower than the average charged in the region in
12   which we practice: (1) John F. Hyland, partner and Lead Counsel, $475; (2) Kate Hegé and
13   Carole Vigne, associates, $300; and (3) Mark Gaines and Maia Siu, paralegals, $175. Applying
14   the applicable rates to the hours expended in the Gallo and Ibarra cases, RHDT’s lodestar (not
15   including travel time) totals $382,340.
16          9.      Our Firm incurred a substantial amount of out-of-pockets costs litigating the Gallo
17   and Ibarra cases. We incurred nearly approximately $35,000 in costs, including charges for
18   filing and service of pleadings; deposition transcripts; legal research; mail, fax, and phone;
19   copies; and travel. As detailed in Exhibit B, our Firm incurred over $2,000 in charges for filing
20   and service of pleadings; over $3,500 in charges for deposition transcripts, over $400 in charges
21   for legal research; over $150 in charges for mail, fax, and phone; over $500 in charges for copies;
22   and over $28,000 in charges for travel (including airfare, taxi, hotel, and meals).
23          10.     Our Firm has not received payment for any of the professional services rendered in
24   the Gallo and Ibarra cases or any of the costs incurred in these cases.
25          11.     The Parties in the Gallo and Ibarra cases finalized their settlement agreement in
26   September 2010. Under the terms of that confidential settlement agreement, the Parties agreed
27
28
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 1   that Plaintiffs’ Counsel would apply to the Court for the payment of attorneys’ fees and
 2   reimbursement of out-of-pocket costs by Defendants up to a maximum cap of $400,000.
 3
 4          I declare under penalty of perjury under the laws of the United States and the State of
 5   California that the foregoing is true and correct, executed the 15th of December 2010 in San
 6   Francisco, California.
                                                       ___/s/_          John F. Hyland              ___
 7                                                                      John F. Hyland
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                                                          5                            Case No. 08 CV-604 J CAB
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